
PER CURIAM.
Affirmed. Cabrera v. Department of Natural Resources, 478 So.2d 454 (Fla. 3d DCA 1985); In re Forfeiture of One Cessna 337 H Aircraft, 475 So.2d 1269 (Fla. 4th DCA), cause dismissed, 480 So.2d 1293 (Fla.1985), cause dismissed sub nom., City of Pompano Beach v. Enroute Ltd., Inc., 480 So.2d 1293; City of Indian Harbour *416Beach v. Damron, 465 So.2d 1382 (Fla. 5th DCA 1985).
DOWNEY, GLICKSTEIN and GUNTHER, JJ., concur.
